Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 1 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 2 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 3 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 4 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 5 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 6 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 7 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 8 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 9 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 10 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 11 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 12 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 13 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 14 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 15 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 16 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 17 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 18 of 19
Case 1:22-cv-21719-XXXX Document 1 Entered on FLSD Docket 06/03/2022 Page 19 of 19
